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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   ALEXANDER K. FINLAN,                                    CASE NO. C20-0005-JCC
10                             Plaintiff,                    ORDER
11          v.

12   UNITED STATES OF AMERICA,

13                             Defendant.
14

15          This matter comes before the Court on Plaintiff’s counsel’s unopposed motion to
16   withdraw (Dkt. No. 22). Having thoroughly considered the motion and the relevant record, the
17   Court hereby GRANTS the motion for the reasons explained herein.
18          Local Civil Rule 83.2(b)(1) provides that attorneys will generally be permitted to
19   withdraw provided they comply with the procedural requirements imposed by the Local Rules
20   and they withdraw at least 60 days prior to the discovery cutoff. In this instance, because
21   Plaintiff’s counsel’s withdrawal will leave Plaintiff unrepresented, Plaintiff’s counsel’s motion
22   must include Plaintiff’s address and telephone number and must be served on Plaintiff and
23   opposing counsel. W. D. Wash. Local Civ. R. 83.2(b)(1).
24          Plaintiff’s counsel’s motion complies with all of these requirements. The motion contains
25   Plaintiff’s address and phone number, (see Dkt. No. 22 at 2), and Plaintiff’s counsel served the
26   motion on Plaintiff by mail, (see id. at 3), which is proper under Federal Rule of Civil Procedure


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 1   5(b)(2)(C). Plaintiff’s counsel also served the motion on opposing counsel via the Court’s

 2   electronic filing system. (See id. at 3.) Neither Plaintiff nor opposing counsel has objected. The

 3   discovery cutoff is July 6, 2021, (see Dkt. No. 21), so Plaintiff’s counsel’s motion is timely.

 4          For the foregoing reasons, Plaintiff’s counsel’s motion to withdraw (Dkt. No. 22) is

 5   GRANTED. The clerk is DIRECTED to mail a copy of this order to Plaintiff.

 6          DATED this 19th day of October 2020.




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                                                           John C. Coughenour
10                                                         UNITED STATES DISTRICT JUDGE
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